Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 1 of 50




                 Exhibit C
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 2 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 3 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 4 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 5 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 6 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 7 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 8 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 9 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 10 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 11 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 12 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 13 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 14 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 15 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 16 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 17 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 18 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 19 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 20 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 21 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 22 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 23 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 24 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 25 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 26 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 27 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 28 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 29 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 30 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 31 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 32 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 33 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 34 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 35 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 36 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 37 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 38 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 39 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 40 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 41 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 42 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 43 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 44 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 45 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 46 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 47 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 48 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 49 of 50
Case 1:17-cv-04179-DLC Document 115-3 Filed 04/20/18 Page 50 of 50
